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                                                          November 5, 2018

                  BY ECF

                  Hon. J. Paul Oetken
                  United States District Judge
                  Southern District of New York
                  40 Foley Square, Room 2101
                  New York, NY 10007
                  P: (212) 805-0266


                          Re:     Lucia Marett v. The Clorox Company and The Burt’s Bees Products Co.
                                  Civil Action No.: 1:18-CV-09333 (JPO)


                  Judge Oetken:

                         This firm represents Defendants The Clorox Company and The Burt’s Bees Products
                  Company in the above-referenced matter. We write with Plaintiff’s counsel’s consent to
                  respectfully request an extension of time – until December 7, 2018 – to respond to Plaintiff’s
                  Complaint. The current due date is November 7, 2018, and this is Defendants’ first
                  extension request. The reason for this request is that the parties are in the process of discussing
                  settlement and are cautiously optimistic that they will reach a settlement in the near future.

                          Thank you for your attention to this matter.


                                                                Respectfully Submitted,

                                                                s/ Jeremi L. Chylinski, Esq.
                                                                  Jeremi L. Chylinski, Esq.




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